Case 2:04-cv-02628-SHI\/|-dkv Document 29 Filed 05/09/05 Page 1 of 3 Page|D 29

   
    

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IN THE UNITED sTATES DIS'I'RICT COURT . d ‘
FoR THE wESTERN DISTRICT oF TENNESSEE
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wESTERN DIVISION OSM'"§Y 9 B‘…§J' §§l'
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own .J.CT
RORY ALLEN GREGORY. VVD~OFWW§H%WHE

Plaintiff,

vs. No. 04-2628MaV

GARY AARON, JOYCE ANDERSON, and
DR. NAHEM A. NAIMEY,

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Defendants.

 

ORDER DEN'YING WITHOUT PREJU'DICE MOTION FOR PROTECTIVE ORDER

 

Before the court is the motion of the defendant, Joyce
Anderson, FCI-Memphis Health Services Administrator, pursuant to
Rule 26(c)(1) for a protective order relieving her from an
obligation to respond to the plaintiff's interrogatories and
requests for production of documents. The motion was referred to
the United States Magistrate Judge for determination. For the
reason that follows, the motion is denied without prejudice.

On August 9, 2004, the plaintiff, Rory Allen Gregory, filed a
pro se complaint pursuant to Bivens v. Six Uhknown Fed. Narcotics
Agents, 403 U.S. 388 (1971). Defendant Anderson moved for
dismissal of the lawsuit on February 14, 2005, and her motion to
dismiss is still pending. On April 8, 2005, the plaintiff served

interrogatories and requests for production of documents on

  
 

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-1 Huie 58 and/or 79(a) FRCP on

 

Case 2:O4-cv-O2628-SHI\/|-dkv Document 29 Filed 05/09/05 Page 2 of 3 Page|D 30

Anderson, seeking, among other things, Anderson's home address,
social security number, and financial and real estate information.
Anderson seeks a protective order on the grounds that the
information sought is irrelevant, unduly burdensome and sought for
the purpose of harassing her. She also points out that she has
raised statutory immunity as a grounds for her motion to dismiss.
According to the scheduling order, the discovery cutoff date is
July 29, 2005.

While some of the discovery requests propounded by the
plaintiff are clearly irrelevant and not likely to lead to
admissible information, defendant Anderson has not presented
sufficient grounds or legal authority to the court to stay all
discovery. Accordingly, Anderson's motion to be relieved from
responding to all the discovery requests is denied at this time.
Anderson may renew her motion with objections to specific requests
or with citation to legal authority supporting her position that no
discovery should be had at this time.

IT IS SO ORDERED this 6th day of May, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

